Case 2:09-cv-00446-TSZ Document 18 Filed 11/20/09 Page 1 of 2

RECEIVED
MAY 20 2009
HW & B- SEATTLE

 

STATE OF WASHINGTON — KING COUNTY

--SS.

 

237364 No.
HOLMES WEDDLE & BARCOTT

Affidavit of Publication

The undersigned, on oath states that he is an authorized representative of The Daily Journal of
Commerce, a daily newspaper, which newspaper is a legal newspaper of general circulation and it is now
and has been for more than six months prior to the date of publication hereinafter referred to, published in
the English language continuously as a daily newspaper in Seattle, King County, Washington, and it is now
and during all of said time was printed in an office maintained at the aforesaid place of publication of this
newspaper. The Daily Journal of Commerce was on the 12" day of June, 1941, approved as a legal
newspaper by the Superior Court of King County.

The notice in the exact form annexed, was published in regular issues of The Daily Journal of

Commerce, which was regularly distributed to its subscribers during the below stated period. The annexed
notice, a

PN:KATMAI FISHERIES
was published on
04/27/09 05/04/09 05/11/09 05/18/09

The amount of the fee charged for the foregoing publication is the sum of $ 396.00, which amount
has been paid in full.

AHEM,
wy 4
ws en A, ’4

Mn,

MS RSOW epee
eNSS EXpeSe

 

a
2

|
@
> |

 

 

“HWW

S|
‘Ss
7
i

Ve pablic for the Statefff Washington, .

residing in Seattle

*
aw
:
é
2
Z
Bam
>
e
%
“e
,
%

ss
3
ns
S4 oy
x, 7O
a 4
5 f

af
“AAS

 
Case 2:09-cv-00446-TSZ Document 18 Filed 11/20/09 Page 2 of 2

State of Washington, King County

Notice to Ingerested 1 Parties:
‘Katmai . Fishé jes, Inc. owner:
-and/or operator of the: KATMAI, .

   

   

 

official numb 18799 (hereinaf-
ter! Be an approximate- |
ly 92. foot essel’ of 148 gross |
‘tons; filed'a Comp nt |

 

ants allege to ave. been injured’
led. w. i

District or Waning On
under : ‘the’ “tithe

of Rule F-o

Rules for-Adini
Claims. of the
Civil’ Procedéi

 

 

 
